Case 2:15-cr-00395-.]LR Document 86 Filed 08/19/16 Page 1 of 3

WA/WD PTS-Supplemental

(01/15)

UNITED STATES DisTRiCT CoURT

for
Western District of Washington

Report of Supplemental Violations

 

 

 

Name ofDefendant Date

Rezakhani, Maziar August l9, 2016

Name ofJudicial Ojicer Case Number

The Honorable Mary Alice Theiler, 2:15-cr-00395-JLR-l
United States Magistrate Judge

Original Ojj’ense Date Supervision Commem:ed
Count l and 31 Mail Fraud October 6, 2015

Count 21 Bank Fraud

Count 4: Filing a False Income Tax Return

 

 

 

 

Bond Conditions Imposed:

Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held devices, as directed
by Pretrial Services. You shall not use, consume or possess alcohol or any other product containing
alcohol, including medication, unless prescribed to you by a physician and under the direction of
Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
recommendations as directed by Pretrial Services.

Travel is restricted to the Western District of Washingto_n, or as directed by Pretrial Services.

The defendant shall participate in the location monitoring program with Active Global Positioning
Satellite technology The defendant shall comply with a curfew as directed by the location monitoring
specialist The defendant shall abide by all program requirements, and must contribute towards the
costs of the services, to the extent financially able, as determined by the location monitoring specialist
The location monitoring specialist Will coordinate the defendant's release With the U.S. Marshals.

Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a
new passport or travel document from any country without permission of the court. If the surrendered
passport is a foreign passport, it shall be forwarded to Immigration and Customs Enforcement if
defendant is convicted of an offense, unless otherwise ordered by the Court.

Provide Pretrial Services with any requested information regarding your financial status, income
sources, and investments Sign a Release of Information form for Credit Bureau Verification if
requested by Pretrial Services. Defendant shall maintain a single financial account for all financial
transactions and will not apply for any new lines of credit unless approved by Pretrial Services.

Maintain employment, or, if unemployed, actively seek employment as directed by Pretrial Services.

You must contribute towards the costs of the services required by this bond, to the extent you are
financially able to do so, as determined by Pretrial Services.

 

 

. Case 2215-Cr-00395-.]LR Document 86 Filed 08/19/16 Page 2 of 3

The Honorable Mary Alice Theiler, United States Magistrate Judge Page 2 Of 3
Report of Supplemental Violations August 19, 2016

 

MODIFICATION on October 15, 2015:

o Other: Applv for a non-enhanced Washington state driver’s license and provide proof to Pretrial
Services.

MODIFICATION on October 26, 2015:

0 The defendant’s conditions were modified and he was placed on the home detention component of the
Location Monitoring Program after the defendant used cocaine and committed a new fraud offense.

MODIFICATION on March 18, 2016:

0 The defendant’s conditions were modified and was reduced to from the home detention component to
the curfew component of the Location Monitoring Program with the understanding that he would
participate in Moral Reconation Therapy (MRT).

MODIFICATION on .]uly 7, 2016:

0 The defendant’s conditions Were modified to increase his level of location monitoring from the curfew
component to the home detention component after the defendant used cocaine and had contact with
Anna O’Leary without permission.`

 

 

 

 

*_

PETITIONING THE COURT

To incorporate the violations contained iri this petition and in all future proceedings with the violations
previously reported to the Court on August 17, 2016.

The Probation Officer believes that the defendant has violated the following conditions of supervision:

Nature of Noncompliance:

3. Maziar Rezakhani has violated a special the condition of his bond directing him not to have direct or
indirect contact with Anna O’Leary, by having contact with her, on or about August 17, 2016.

4. Maziar Rezakhani has violated a special condition of his appearance bond requiring him to abide by all
program requirements of the Location Monitoring Program With active Global Positioning Satellite
(GPS) technology, by leaving his residence without permission, on or about August 17, 2016.

U.S. Probation Officer Recommendation:.
That violation(s) #3 and #4 be added to the previous petition presently before the Court dated August 17,
2016

The U.S. Attorney’s Office has been notified of this violation and concurs with the recommendation

 

Case 2:15-cr-OO395-.]LR Document 86 Filed 08/19/16 Page 3 of 3

The Honorable Mary Alice Theiler, United States Magistrate Judge Pag€ 3 Of3
Report of Supplemental Violations August 19, 2016

l declare under penalty of perjury that the foregoing is true and correct.
Executed on this 19th day of August, 2016.

M¢V

 

APPROVED: y __ v ,
Connie Smith Christina Lacy
Chief U.S. Probation and U.S. PrOb&tiOn Officer

Pretrial Services Offi~cer
Monique D Neal
Supervising U S. Probation Officer

 

 

 

THE COURT FINDS PROBABLE CAUSE AND DIRECTS:

l:l The Issuance of a Summons (conditions of supervision shall remain in effect pending final adjudication)
|:l The lssuance of a Warrant under seal (conditions of supervision shall remain in effect pending final
adjudication)

|:| To incorporate the violations contained in this petition under seal in all future proceedings with the
violations previously reported to the Court
To incorporate the violations contained in this petition and in all future proceedings with the violations

previously reported to the Court

ll Other
Mary Alice Theiler,
United States Magistrate Judge

Y/M//§/

' Date

